                              UNITED STATES BANKRUPTCY COURT
                               EASTERN DISTRICT OF WISCONSIN


In the Matter of

         NETWURX, INC.,                                                Case No. 08-26131-svk
                                                                       Chapter 11
                  Debtor.


              MOTION BY THE DEBTOR TO MODIFY THE ACCEPTED PLAN


         Netwurx, Inc., as the small business debtor (the “Debtor”) in this Chapter 11 case, moves,

pursuant to 11 U.S.C. § 1127(a) to modify the accepted plan. The modification to the Plan is as

follows:

         a) “Effective Date” shall mean the date on which the order confirming this Plan of

              Reorganization becomes final and non-appealable, or the Debtor declares the

              Effective Date to be by filing such declaration with the Court.

In support of its motion, the Debtor states:

                                               Jurisdiction

         1.       This Court has jurisdiction over this matter pursuant to 28 U.S.C. § 1334(a) and

157(a), and the order of reference in this district entered pursuant to § 157(a).

         2.       This is a core proceeding under 28 U.S.C. § 157(b)(1). It concerns the

administration of the Debtor’s estate pursuant to § 157(b)(2)(A).



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        3.      The Debtor filed a voluntary petition for relief under chapter 11 of the Bankruptcy

Code on June 5, 2008. An order for relief was entered on the same day.

                                         Basis For Relief

        4.      The Debtor presented its plan for approval on September 17, 2009 at a

confirmation hearing before the court. At that hearing the Debtor’s plan was confirmed. The

order confirming the Plan has not been entered.

        5.      The proposed modification does not adversely change the treatment of the claim

of any creditor or the interest of any equity security holder. The modified plan meets the

requirements of 11 U.S.C. §§ 1122 and 1123.

                                            Conclusion

        WHEREFORE, the Debtor requests that the Court approve the modification to the plan,

and grant other relief as is just.

        Dated: October 19, 2009.


                                                       /s/ Jerome R. Kerkman
                                                       Jerome R. Kerkman
                                                       Evan P. Schmit
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